Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page1of17

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KOBE PINKNEY, Case No. 1:19-cv-167
Plaintiff
UNITED STATES MAGISTRATE JUDGE
RICHARD A. LANZILLO

Vv.

MEADVILLE, PENNSYLVANIA, et al,
MEMORANDUM OPINION AND
ORDER ON DEFENDANTS’ MOTIONS
TO DISMISS AMENDED COMPLAINT

Defendants

[ECF NOS. 53, 55, 57 & 59]

Ne NS ee ee 8 ee ee es es te

MEMORANDUM OPINION AND ORDER
L Introduction

Having granted Plaintiff Kobe Pinkney’s Rule 60(b) motion for relief from judgment as to
certain claims within this Court’s federal question jurisdiction, the Court is now obliged to teach the
merits of the Defendants’ motions to dismiss Pinkney’s state law claims over which it previously
declined to exercise supplemental jurisdiction. The Court has detailed the procedural and factual
background of this case in its prior decisions, see ECF Nos. 70, 80, and will not repeat that
background here. Because the new information upon which Pinkney based his Rule 60(b) motion
does not alter the Court’s analysis of his state law claims, the Defendants’ motions to dismiss those

claims remain ripe for decision.

Il. Analysis

A. Pinkney’s Invasion of Privacy by Way of False Light (Count VID, Invasion of Privacy by
Way of Unreasonable Intrusion (Count IX), and Intentional Infliction of Emotional
Distress (Count XI) Claims Against the Media Defendants
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page 2of17

Defendants Meadville Tribune (Tribune), Community Newspaper Holding, Inc. (CNH), and
Meadville Tribune reporter Keith Gushard (Gushard) (collectively, Media Defendants) have moved
to dismiss the Amended Complaint’s invasion of privacy/false light clatms (Counts VII & EX) and
intentional infliction of emotional distress claim (Count XT) against them. ECF No. 57. For the
reasons set forth herein, their motion will be granted and the claims against the Media Defendants

will be dismissed with prejudice.
1 Invasion of Privacy

a. Elements of Claims

Pennsylvania courts have recognized four types of invasion of privacy torts: (1) unreasonable
intrusion upon the seclusion of another; (2) appropriation of anothet’s name ot likeness;

(3) publicity given to private facts; and (4) publicity placing a person in a false light. See DeAngelo v.
Fortney, 515 A.2d 594, 595 (Pa. Super. Ct. 1986) (citing Vogel vu. WT. Grant Co., 327 A.2d 133, 136 n.9
(Pa. 1974)). See also Santillo v. Reedel, 634 A.2d 264, 266 (Pa. Super. Ct. 1993); Restatement (Second) of
Torts § 652A. In the Amended Complaint, Pinkney invokes (4) and (1), alleging that the Tribune,
CNH, and Gushard placed him in a false light and unreasonably intruded upon his seclusion by
reporting and publishing the news articles dated April 15, 2019, and May 16, 2019 pertaining to his
alleged involvement in the assault of Happel.

To maintain a claim for false light lability, a plaintiff “must show that a highly offensive false
statement was publicized by [the defendants] with knowledge or in reckless disregard of the falsity.”
Santillo, 634 A.2d at 266 (citing Nezsh v. Beaver Newspapers, Inc. 581 A.2d 619, 624 (Pa. Super. Ct.
1990)). Therefore, a plaintiff must establish: (1) that the defendant published material that is not
true; (2) that the material is highly offensive to a reasonable person; and (3) that the defendant acted

with knowledge or in reckless disregard of the falsity of the material and/or the false light in which it
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 3of17

would place the plaintiff. See Anderson v. Perez, 677 Fed. Appx. 49, 52 (3d Cir. 2017) (citing Graboff v.
Colleran Firm, 744 F.3d 128, 136 (3d Cir. 2014)). “Mere negligence is not enough to support a claim
for false light invasion of privacy.” Id. at 52-53 (citing Rush v. Phila. Newspapers, Inc. 732 A.2d 648,
654 (Pa. Super. Ct. 1999)). However, the “literal accuracy of sepatate statements will not rendet a
communication “true” where . . . the implication of the communication as a whole was false.”
Larsen v. Phila. Newspapers, Inc., 543 A.2d 1181, 1189 (Pa. Super. Ct. 1988) (quoting Dunlap v. Phila.
Newspapers, Inc., 448 A.2d 6, 15 (Pa. Super. Ct. 1982)). A false light claim can be supported upon
ptoof of the publication of information that, while itself true, tends to imply something false. Sve zd.
To prevail under such a theory, a plaintiff must establish that the defendant created a false
imptession by knowingly or recklessly publicizing selective pieces of true information. See zd.

To establish a tortious intrusion upon his or her seclusion, a plaintiff must show “‘an
intentional interference with [a person’s] interest in solitude or seclusion, either as to his person or
his private affairs or concerns.” DeAngelo, 515 A.2d at 595 (quoting Restatement (Second) of Torts §
652B, comment a). In so doing, a plaintiff must establish that “the interference with [his or her]
seclusion is a substantial one, of a kind that would be offensive to the ordinary reasonable [person],
as a result of conduct to which the reasonable [person] would strongly object.” Id. (quoting
Restatement (Second) of Torts § 652B, comment d). To state an actionable claim for intrusion upon
seclusion, the plaintiff must allege that the defendant has intruded into a private place or invaded the
ptivate seclusion of the plaintiff's person or affairs. See Harris by Harris v. Easton Pub. Co., 483 A.2d
1377, 1384 (Pa. Super. Ct. 1984). Such an action “does not depend on any publicity given to the
petson whose interest is invaded or to his affairs.” Jd. This tort therefore addresses situations where
defendants have invaded the plaintiffs seclusion through their actions. Defendants are not liable for

the mere examination of public records. See Restatement (Second) of Torts \ 652B, comment c.
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page4of17

Although Pinkney purports to raise his claim in Count [X as one for unreasonable intrusion
on his seclusion, as further discussed below, the facts he alleges regarding the Media Defendants do
not corttelate to this species of invasion of privacy. As the Court will explain, Pinkney does not
allege that any of the Media Defendants intruded into his privacy, but rather that they made public
that which he alleges to be a private fact — his home address. He appeats, therefore, to be
attempting to plead the third type of privacy invasion, publicity given to private facts. The elements
of such a claim ate: (1) publicity, given to (2) private facts, (3) which would be highly offensive to a
reasonable person, and (4) not of legitimate concern to the public. See Harris, 483 A.2d at 1384.
Regardless, as discussed below, it ultimately makes no difference how Pinkney characterizes his
claim at Count IX; he has failed to state a claim in any event.

b. Application to Count VII

Count VII of the Amended Complaint alleges the facts upon which Pinkney bases his claim
that the Media Defendants are liable for placing him in a false light.’ Specifically, he asserts that
Gushard wrote an article that was published by the Tribune,’ reporting that ADA DiGiacomo had
given a public statement “that even though the criminal case against Plaintiff had been withdrawn
and dismissed, Plaintiff nevertheless remained a suspect in the investigation of the brutal April 7,
2019 assault against Rhett Happel at Julian’s Bar in Meadville, Pennsylvania.” ECF No. 50, 9154.
He further alleges that there was “overwhelming evidence presented to the Commonwealth” of his
innocence, and that, therefore, ADA DiGiacomo’s “statement that Plaintiff is still a suspect for the
assault of Rhett Happel is at best misleading if not an outright lie, which portrays Plaintiff in a false

light, leading his peers at Allegheny College as well as the general public to wrongly believe that

1 Count VII also raises a claim of false light invasion of privacy against ADA DiGiacomo. That allegation will be
discussed in regard to her motion to dismiss (ACF No. 53).

? Pinkney alleges that the Tribune is owned by CNH. ECF No. 50, (154.

4
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page5of17

Plaintiff was the man who brutally assaulted Happel.” Id, 9155. Count VII therefore only expressly
alleges facts regarding the May 16, 2019 article written by Gushard and published by the Tribune
and CNH. In his brief in opposition to the motion to dismiss, however, Pinkney references both
the May 16 article and the April 15 article and claims that both placed him in a false light. ECF No.
66, p. 39.

Even assuming that Count VII does contain allegations regarding the April 15 article,
Pinkney’s argument regarding that article suffers from an obvious flaw: the article was written and
published before the Media Defendants would have had any reason to question the veracity of the
facts contained in the police records that served as the basis for the article. As discussed above,
Pinkney’s counsel sent the allegedly exculpatory information regarding Pinkney to Gushard in
response to the article. In other words, the Media Defendants had no access to the information at
the time the article was published. Evidence as to communication a/ter the publication does not
speak to the defendants’ state of mind at the relevant time. See Anderson, 677 Fed. Appx. at 53.
Pinkney offers no explanation how, in light of this timing, the Media Defendants acted with
knowledge or in reckless distegatd of the facts in publishing the April 15 article. Indeed, courts have
routinely dismissed false light claims based on statements accurately publicizing a plaintiffs arrest
even where the plaintiff was later exonerated. See, ¢.g., Minor v. Cumberland Tp., 2015 WL 5691120, at
*3 (W.D. Pa. Sept. 28, 2015); Martin v. Hearst Corp., 777 F.3d 546, 551 (2d Cir. 2015).

Pinkney’s false light claims regarding the May 16 article fare no better. While that article was
at least written and published after Pinkney’s counsel had communicated the evidence exonerating
his client to Gushard, the article accurately reported that the chatges against Pinkney had been
withdrawn but that, according to ADA DiGiacomo, Pinkney remained a suspect to the crime.
Pinkney himself admits that the article was a “largely verbatim account|] of the Crawford County

District Attorney’s prosecution of Plaintiff” ECF No. 66, p. 39. It is important to note that the
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page6of17

article did not state or reasonably imply that Pinkney committed the crime, merely that the District
Attorney’s office still considered him to be a suspect. There is nothing false about this publication.
The information provided by Pinkney’s counsel to Gushard shed no light on whether Pinkney was
still a suspect; it did nothing more than provide a basis for believing that he did not commit the
underlying assault. [he May 16 article did not tend to imply that he did and, in fact, expressly
highlighted that the charges had been withdrawn. To the extent that Pinkney asserts that the Media
Defendants were obliged to speculate as to why the charges had been dropped or to challenge ADA
DiGiacomo’s position that he remained a suspect, in no way does the failure to do so constitute
recklessness. Likewise, the “selective” decision not to publish the information provided by counsel
does not place Pinkney in a false light. The articles, taken as a whole, do not imply any guilt on
Pinkney’s behalf, nor can they reasonably be interpreted as attempting to build a case against
Pinkney; rather, they report that charges were filed and the nature of those chatges, that the charges
wete later withdrawn, and that, according to ADA DiGiacomo, Pinkney was still betng considered as
a suspect.

In sum, the facts alleged in Count VII of the Amended Complaint, even taken as true, do
not support a claim that the Media Defendants violated Pinkney’s privacy by placing him in a false

light. Accordingly, Count VII is dismissed with prejudice as to the Media Defendants.”

° To the extent the Count VIII of the Amended Complaint asserts a false light liability claim against Setgeant
Metchbaker and Allegheny, this claim is also dismissed with prejudice. The Amended Complaint does not allege any
facts to support that either of these defendants publicized a highly offensive false statement regarding Pinkney with
knowledge or in reckless disregard of the falsity of the statement.

6
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page 7of17

C. Application to Count IX

In Count IX of the Amended Complaint, Pinkney asserts that the Media Defendants ate
liable for invasion of privacy by unreasonable intrusion. Specifically, he alleges that the April 15
atticle written by Gushard and published by the Tribune and CNH contained his home address in
Upper Marlboro, Maryland, and that this publication of his home address, in conjunction with the
material in the article that “he had committed a heinous felonious assault against an unsuspecting
petson” egregiously and intentionally intruded upon the seclusion of his private concetns. ECF No.
50, 9168-69. However, as the Court explained above, a claim for intrusion upon seclusion involves
situations where the defendant intruded into a private place or invaded the private seclusion of the
plaintiffs person or affairs and does not depend on the publicity given to the person or to his or her
affairs. See Harris, 483 A.2d at 1384. In other words, this type of invasion of privacy involves
situations where the defendant has intentionally and substantially invaded the plaintiff's seclusion
either physically or by some sort of investigation or examination. None of the defendants named in
Count IX did so.* Pinkney’s home address was obtained from the Police Criminal Complaint
generated during the investigation, a public document. Reporting information from a public record
does not intrude on Pinkney’s seclusion.”

As noted, the facts alleged in Count LX probably correlate mote closely to a claim of
invasion of ptivacy for publication of private facts. However, the alleged facts fail to establish a
claim under that theoty as well. As discussed, one of the elements Pinkney would have to prove to
establish a tort claim for publication of private facts is that the publicized material was, in fact,

private. See Harris, 483 A.2d at 1384. A fact contained in a public record, such as a police repott, is

4 The Coutt notes that there is no allegation of any intrusion to Pinkney’s home residence in Matyland as a result of the
publication of either the April 15 or the May 16 articles.

5 In any event, publicizing a person’s address generally will not establish a claim for intrusion upon seclusion. See
DeAngelo, 515 A.2d at 595-96; Brignola v. Home Properties, L.P., 2013 WL 1795336, at *12 (.D. Pa. Apr. 26, 2013).

7
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page 8of17

generally deemed to be not private but public. Sve Jackson v. Jackson, 2014 WL 4060571, at *16 (W.D.
Pa. Aug. 15, 2014) (citing Jenkins v. Bolla, 600 A.2d 1293, 1296 (Pa. Super. Ct. 1992)). Moreover, a
petson’s home address is not ordinarily a private fact sufficient to support an action for publication
of private facts. See Brignola v. Home Properties, L.P., 2013 WL 1795336, at *12 (B.D. Pa. Apr. 26,
2013); Burrell v. Parexel Intl, LLC, 2012 WL 4757936, at *5 (D. Md. Oct. 4, 2012); McNuit v. New
Mexico State Tribune Co., 538 P.2d 804, 808 (N.M. Ct. App. 1975).° Considering that, here, Pinkney’s
home addtess was obtained from a record readily available to the public, it cannot reasonably be
consttued as a private fact.

Accordingly, the Amended Complaint fails adequately to plead that the Defendants either
intruded upon Pinkney’s seclusion or publicized his private facts. Count IX is therefore dismissed

with prejudice.
i. Intentional Infliction of Emotional Distress

a. Elements of Claim
Pinkney alleges in Count XI of the Amended Complaint that the Media Defendants, among
others,’ are liable for intentional infliction of emotional distress. Under Pennsylvania law,

[tlo prevail on an intentional infliction of emotional disttess claim, a
plaintiff must show: (1) the conduct of defendant was intentional or
reckless; (2) the conduct of defendant was extreme and outrageous;
(3) defendant’s conduct caused emotional distress; and (4) the distress
was sevete.

6 There is case law indicating that a person has some protectable privacy intetest in his or her home address. Sve, e.g,
Warner v. Township of South Harrison, 2010 WL 3001969 (D. N,J. July 26, 2010). However, in these cases, the courts are
typically discussing the plaintiffs constitutional right of privacy, which requires certain balancing of interests between the
individual and the government. ‘The constitutional sight to privacy does not equate with a common law privacy right
recognized by state tort law. See Nunez v. Parchman, 578 F.3d 228, 232 n.10 (3d Cir. 2009). Cases such as Warner ate
therefore inapposite hete.

7 The Court will address the Count XI allegations against those other defendants in the course of considering theit
motions to dismiss.
Case 1:19-cv-00167-RAL Document 81 Filed 04/27/20 Page9of17

Sabo v. UPMC Altoona, 386 F. Supp.3d 530, 556 (W.D. Pa. 2019) (citing Taylor v. Albert Eznsten Med.
Ctr, 754 A.2d 650, 652 (Pa. 2000)). “Outrageous” and “extreme” conduct is defined as “conduct
that is ‘so outtageous in character, so extreme in degtee, as to go beyond all possible bounds of

22?

decency, and to be regarding as atrocious, and utterly intolerable in civilized society.” Reeves v.
Middletown Athletic Ass'n, 866 A.2d 1115, 1122 n.5 (Pa. Super. Ct. 2004) (quoting Hoy v. Angelone, 720
A.2d 745, 754 (Pa. 1998)). Liability under this cause of action is “reserved by the courts for only the
most clearly desperate and ultra extreme conduct.” Hoy, 720 A.2d at 754. The determination as to
whether the alleged conduct may reasonably be regatded as so extreme as to permit recovery is left
to the court in the first instance. See Salerno v. Phila. Newspapers, Inc., 546 A.2d 1168, 1172 (Pa. Super.
Ct. 1988).
b. Application to Count XI

Possibly because it is intended to cover the different conduct of numerous defendants,
Count XI is very vague as to the factual basis for Pinkney’s claim. Count XI merely references the
acts alleged elsewhere in the Amended Complaint and asserts that this conduct constitutes
intentional infliction of emotional distress. Arguably, this is insufficient to weather a Rule 12(b)(6)
challenge. Even ignoring this pleading deficiency and construing the entirety of the Amended
Complaint and Pinkney’s brief in opposition to the pending motions liberally in favor of Pinkney, he
has failed to plead a cause of action for intentional infliction of emotional distress against the Media
Defendants.

The Amended Complaint may be vague as to the factual basis for Count XI, but Pinkney
does set forth the facts he alleges support this count as it relates to the Media Defendants in his brief
in opposition to the motion to dismiss. He asserts that his intentional infliction of emotional

distress claim against these defendants is based on their publication of the April 15 and May 16

atticles regarding his involvement in the assault of Happel, and on their refusal to publish “a
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 10of17

proffered press release” prepared by Pinkney’s counsel refuting the allegations against Pinkney* and
to ensute fair and balanced coverage of the matter. ECF No. 66, p. 34. Even if Count XI could be
read to allege these facts, it is insufficient to state an actionable claim.

As the Court discussed above, the April 15 and May 16 articles, by Pinkney’s own admission,
constituted neatly verbatim reports of the records generated in the course of the investigation and
ptosecution of the case against him. As the Court further explained, the articles themselves
accurately teport the facts they purport to set forth and do not place Pinkney in any derogatory false
light. News atticles reporting allegations of criminal activity have been found not to implicate the
exttemely high standard needed to maintain an intentional infliction of emotional distress claim. See
Salerno, 546 A.2d at 1172-73; Collins v. Purdue University, 703 F. Supp.2d 862, 871-73 (N.D. Ind. 2010).
Similarly, here, the Media Defendants’ publication of the April 15 and May 16 articles does not come
close to the type of outrageous behavior that is utterly intolerable to society.

As to Pinkney’s allegations that the Media Defendants are liable for failing to report the
information provided by his counsel, it well established that, under Pennsylvania law, there is no
cognizable claim for intentional infliction of emotional distress where the failure to act forms the
basis of the claim. See Jackson v. Sun Oil Co. of Pa., 521 A.2d 469, 471 (Pa. Super. Ct. 1987); Sabo, 386
F, Supp.3d at 557. Indeed, the Jackson case is particularly instructive. In that case, the plaintiff was
suspended by the defendant, his employer, from making service calls because a customer had
accused him of making sexually suggestive comments and advances. After an investigation that
included the plaintiff taking and passing a lie detector test, he was permitted by the defendant to

resume his normal duties. The plaintiff subsequently filed a claim for intentional infliction of

8 Although Pinkney characterizes his counsel’s April 15, 2019 letter to Gushard as a proffered press release, the letter
identifies itself as a response to the April 15 article and does not indicate that it or the information contained therein is
intended to be published. It merely provides information and asks that the “coverage of this case be balanced and fait.”
ECF No. 50-1, pp.12-14.

10
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 11of17

emotional distress based on his employet’s failure to publicize to his co-workers the results of the
investigation clearing him of wrongdoing. The ttial court granted summary jadgment on the
defendant’s behalf, and the Pennsylvania Superior Court affirmed. In so doing, the court
emphasized that the employer was under no obligation to publicize information to clear the plaintiff.
See 521 A.2d at 471-72. In the instant matter, the Media Defendants likewise had no legal obligation
to publish exculpatory information provided by Pinkney at his counsel’s request.

Accordingly, even giving the broadest possible reading to Count XI, the facts alleged do not
establish that the Media Defendants intentionally inflicted emotional distress on Pinkney. As such,

Count X1 is dismissed with prejudice as to the Media Defendants.

B. Pinkney’s False Light Defamation (Count VID), Invasion of Privacy (Count X) and
Intentional Infliction of Emotional Distress (Count XT) Claims Against ADA
DiGiacomo

Each of Pinkney’s state law claims against ADA DiGiacomo —false light defamation,
invasion of privacy, and intentional infliction of emotional distress—-is based upon ADA
DiGiacomo’s statement to Gushard that Pinkney remained a suspect in the attack on Happel even
after the dismissal of the chatges against him. ADA DiGiacomo’s motion to dismiss both
challenges the sufficiency of the facts alleged in the Amended Complaint to support each of these
claims and raises the defense of absolute immunity as a bar to all. Because the Court finds that the
claims are batted by the latter, it will not address ADA DiGiacomo’s other arguments.

ADA DiGiacomo argues that she is shielded from liability on Pinkney’s state law claims by
Pennsylvania’s doctrine of absolute privilege for “high public officials.” Pennsylvania courts have
held that “high public officials are immune from suits seeking damages for actions taken or
statements made in the course of theit official duties.” Durham v. McElynn, 772. A.2d 68, 69 (Pa.
2001). This includes “civil suits for damages arising out of false defamatory statements and even

from statements or actions motivated by malice, provided the statements are made or the actions are taken in

11
Case 1:19-cv-00167-RAL Document81 Filed 04/27/20 Page 12 of17

the course of the official’s duties or powers and within the scope of his authority, or as it 1s sometimes expressed, within
his jurisdiction.” Matson v. Margiotfi, 371 Pa. 188, 88 A.2d 892, 895 (1952) (emphasis in original)
(citations omitted). The privilege is not for the benefit of the official, but to protect “society’s
interest in the unfettered discussion of public business and in full public knowledge of the facts and
conduct of such business.” Lzndner v. Mollan, 544 Pa. 487, 491, 677 A.2d 1194, 1196 (1996) (quoting
Montgomery v. City of Philadelphia, 392 Pa. 178, 183, 140 A.2d 100, 103 (1958)).
The Pennsylvania Supreme Coutt has explicitly applied this immunity to assistant district

attorneys acting in the course of their duttes:

Assistant district attorneys, however, are essential to district

attorneys in fulfilling responsibilities of their high public

offices, to wit, in catrying out the prosecutorial function. ‘To

subject assistant district attorneys acting on behalf of the

district attorney to liability would deter all but the most

coutageous and most judgment-proof from vigorously

performing their prosecutorial functions, and would

inevitably result in ctiminals going unpunished ... That

interest dictates that assistant district attorneys be immune

from suit.”
Durham, 772. A.2d at 70. See also Freach v. Commonwealth, 23 Pa. Crwlth. 546, 354 A.2d 908 (1976)
(Superintendent of the Parole Division of the Board of Probation and Parole, District Attorney and
the Assistant District Attorney of Delaware County were high public officials for purposes of
absolute privilege), afPd in part, 471 Pa. 558, 370 A.2d 1163 (1977); Mosley v. Observer Publishing Co.,
422 Pa. Super. Ct. 255, 619 A.2d 343 (1993) (County Attorney was high public official for purposes
of absolute privilege), appeal denied, 535 Pa. 622, 629 A.2d 1382 (1993); McCormick v. Specter, 220 Pa.
Super. Ct. 19, 275 A.2d 688 (1971) (District Attorney was high public official for purposes of

absolute privilege); McCormick v. Specter, 220 Pa. Super. Ct. 19, 21, 275 A.2d 688, 689 (1971)

9 In contrast, the prosecutorial immunity enjoyed under federal law has been found not to apply to state law claims for
defamation and false light arising out of a prosecutot’s statements to the press. Garcia v. Casey, 2020 WL 718301, at *9
(N.D. Ala. Feb. 12, 2020).

12
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 13 of17

(“absolute immunity accorded his high official position” shielded District Attorney from libel and
slander claim arising out of oral and recorded statements he had made in public).

Thus, because ADA DiGiacomo’s position falls within the scope of those protected by
Pennsylvania’s absolute privilege for high public officials, the only remaining question is whether her
statement that Pinkney remained a suspect after the Commonwealth dropped the chatges against
him was made within the course of her duties or powers and within the scope of her authority. Asa
guiding principle, Pennsylvania courts emphasize that the privilege “must be limited to those
statements and actions which ate in fact ‘closely related’ to the performance” of the defendant’s
“official duties.” McCormick, 220 Pa. Super. at 22, 275 A.2d at 689. In Hall v. Kiger, 795 A.2d 497
(2002), the Pennsylvania Commonwealth Court considered two factors to be relevant to in
determining whether statements meet this standard in the context of a defamation case: (1) the
formality of the forum in which the alleged defamation occurred; and (2) the relationship of the
legitimate subject of governmental concern to the petson seeking damages. Id. at 501. Beyond
identifying these considerations, Pennsylvania caselaw is not especially cleat regarding their
application. In McKibben v. Schmotzer, 700 A.2d 484 (Pa. Supet. Ct. 1997), for example, the mayor of
a borough was determined to be entitled to immunity for harsh and untrue statements she made in a
press release explaining the discharge of the police chief, but not for comments she made
subsequently as a private citizen following a hearing on the criminal complaint she had brought
against the police chief. The Superior Coutt emphasized that the mayor’s press release was issued in
her official capacity, but her statements after the hearing were made when she was “no more than a
ptivate citizen seeking to enforce her private criminal complaint.” Id. at 492 (emphasis in original).

In the present case, the Amended Complaint acknowledges that Gushard’s inquity to ADA
DiGiacomo and her response came in the context of the Commonwealth’s dismissal of the charges

against Pinkney. The statement itself related specifically to the criminal investigation and possible

13
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 14 of17

futute prosecutorial action. Nothing in the Amended Complaint indicates that ADA DiGiacomo
was pursing any personal interest outside of the duties of het office when she responded to
Gushard’s inquity. These facts thus align this case with McCormick v. Specter, where the Pennsylvania
Supetior Court held that a district attorney’s statements duting a press conference, although
excessive and potentially defamatory of the plaintiff, were protected by high public official immunity
because they related to an ongoing criminal investigation and potential future prosecutorial action.
220 Pa. Super. at 22, 275 A.2d at 689. Because the facts alleged in the Amended Complaint place
ADA DiGiacomo’s statement within the course of her duties and within the scope of her authority
ot jutisdiction as an assistant district attorney, Pinkney’s false light defamation, invasion of privacy,
and intentional infliction of emotional distress claims against her are barred by high public official

immunity. Accordingly, these claims will be dismissed with prejudice.
C. Intentional Infliction of Emotional Distress Against Sergeant Merchbaker and Allegheny

There can little doubt that the events experienced by Pinkney between April 11 and May 16,
2019 would have been extremely distressing to even the most resilient individual. While pursuing
his higher education, Pinkney abruptly found himself erroneously identified as the perpetrator of a
felonious assault, criminally charged as such, and removed from his philosophy classroom to be
placed under arrest. As to Pinkney’s intentional infliction of emotional distress claim against
Sergeant Merchbaker and Allegheny, the question is whether the latter action was so “‘so outrageous
in character, so extreme in degtee, as to go beyond all possible bounds of decency, and to be
regarding as atrocious, and utterly intolerable in civilized society.”’ Reeves, 866 A.2d at 1122 n.5
(quoting Hoy, 720 A.2d at 754). While reasonable minds certainly could question whether it was
necessaty to extract Pinkney from a classroom filled with his peers, caselaw does not support that

the act of doing so constituted extreme and outrageous conduct that it triggers potential lability for

14
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 15of17

intentional infliction of emotional distress. As noted, when Sergeant Merchbaket removed Pinkney
from the classtoom, Officer Frum had a facially valid warrant for his arrest. While it is unfortunate
that those involved did not choose a less public environment to effectuate the arrest, their choice to
ptoceed as they did is not actionable under Pennsylvania law. Accordingly, Count XI will be

dismissed against Sergeant Merchbaker and Allegheny.
D. Conversion Claim Against Meadville (Count XII, incorrectly designated as Count X)

At Count XI, Pinkney asserts a claim for conversion against Meadville based upon its
refusal to return the ting seized from his dormitory room pursuant to a search warrant. ECF No.
50, § 183-189. ‘The Amended Complaint is unclear whether Pinkney asserts this claim pursuant to
the 14° Amendment or as one of the state law claims his Amended Complaint presents pursuant to
this Court’s supplemental jurisdiction. Id. at 4] 1.

To the extent this claim is construed as one of deprivation of property under the Fourteenth
Amendment, it is not actionable because Pinkney had an adequate remedy at state law. See e.g., Tate
v. Neal, 1996 WL 131943 (E.D. Pa. 1996) (dismissing the complaint on screening because the
plaintiff had an adequate post-deprivation remedy to address his claim that the undercover officer
seized his property and failed to return it). The Supreme Court of the United States has held that
neither negligent not intentional deprivations of property violate the Due Process Clause if there is a
meaningful post-deprivation remedy for the loss. See Hudson v. Palmer, 468 U.S. 517, 533 (1984);
Parratt v. Taylor, 451 U.S. 527, 530 (1981). Here, Pinkney has an adequate remedy under state law.
Pennsylvania Rule of Criminal Procedure 588 permits “a person aggrieved by a search and seizure”

to file a motion for return of property “in the court of common pleas for the judicial district in

15
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 16 of 17

which the property was seized.” Pa. R Crim. P. 588."" Federal courts have recognized this rule and
similar rules as complying with due process because they provide adequate post-deprivation
remedies. See, ¢g., Welsch v. Township Of Upper Darby, 2008 WL 3919354 (E.D. Pa. Aug. 26, 2008);
Potts v. City of Phila., 224 F.Supp.2d 919, 938 (E.D. Pa. 2002) (citing Hudson v. Palmer, 468 U.S. 517,
533 (1984) (“an unauthorized intentional deprivation of property by a state employee does not
constitute a violation of the procedural requitements of the Due Process Clause of the Fourteenth
Amendment if a meaningful post-deprivation remedy for the loss is available”); Taylor v. Naylor, 2006
WL 1134940, at * 3-4 (W.D. Pa. Apr.26, 2006) (finding Pa. R. Crim. P. 588, replevin, and conversion
statutes adequate post-deprivation remedies for detained and eventually destroyed personal
property).

As the foregoing discussion indicates, federal courts have recognized a state-law convetsion
ot replevin claim as a remedy in situations involving improperly seized property. Because a federal
cause of action against Officer Frum temains pending in this action, this Court has supplemental
jurisdiction to hear Pinkney’s conversion claim against Meadville. See 28 U.S.C. § 1367().
Accordingly, the Coutt will deny Meadville’s motion to dismiss Count XII of the Amended

Complaint.

III. Order
For the reasons set forth above and in this Court’s Opinion and Order (ECF No. 80)
granting Plaintiff Kobe Pinkney’s motion (ECF No. 72) pursuant to Fed. R. Civ. Pro. 60(b), it is hereby

ORDERED as follows:

10 The Rule is applicable to civil cases as well. Rule 588’s broad language addresses all “aggrieved by a seizure.” It does
not limit the recourse to only those involved in a criminal matter. Further, Pennsylvania has recognized Rule 588
proceedings as civil in form, but “quasi-criminal in charactet.” Commonwealth v. Howard, 931 A.2d 129, 131 (Pa. Cmwlth.
2007).

16
Case 1:19-cv-00167-RAL Document81_ Filed 04/27/20 Page 17 of 17

A. The motion to dismiss (ECF No. 53) filed on behalf of Defendant Paula DiGiacomo ts
GRANTED and all claims against her are hereby DISMISSED WITH PREJUDICE. The Clerk
of the Court is directed to terminate Paula DiGiacomo as a Defendant in this action;

B. The motion to dismiss (ECF No. 55) filed on behalf of Defendants Meadville, Pennsylvania,
Michael J. Tautin and Jared Frum is GRANTED in part and DENIED in part. The motion is
DENIED as to Counts II, TI and IV of Plaintiffs Amended Complaint against Defendant Jared
Frum and as to Count XII (Conversion) against Defendant Meadville, Pennsylvania. In all other
tespects, the motion is GRANTED and all other claims against these Defendants are hereby
DISMISSED WITH PREJUDICE. The Clerk of the Court is directed to terminate Michael J.
Tautin as a Defendant in this action;

C. The motion to dismiss (CF No. 57) filed on behalf of Defendants Meadville Tribune,
Community Newspaper Holding, Inc. and Keith Gushatd is GRANTED and all claims against
these Defendants are hereby DISMISSED WITH PREJUDICE. The Clerk of the Court is
directed to terminate Meadville Tribune, Community Newspaper Holding, Inc. and Keith
Gushard as Defendants in this action; and

D. The motion to dismiss (ECF No. 59) filed on behalf of Defendants Allegheny College and
William Metchbaker is GRANTED and all claims against these Defendants are hereby
DISMISSED WITH PREJUDICE. The Clerk of the Coutt is directed to terminate Allegheny

College and William Merchbaker as Defendants in this action.

“nary

RICHARD A. LANZILE( O
United States Magistrate Judge

IT IS SO ORDERED.

Dated: April 27, 2020

17
